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               1                                                        The Honorable Ricardo S. Martinez
                                                                         Chief United States District Judge
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               7
                                             UNITED STATES DISTRICT COURT
               8                            WESTERN DISTRICT OF WASHINGTON
                                                      AT SEATTLE
               9

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           11                                               CASE NO. 2:17-CV-00218-RSM-JPD
           12      Daniel Ramirez Medina,                   PLAINTIFF’S MOTION FOR
                                                            PRELIMINARY INJUNCTION
           13                          Plaintiff,
                                                            ORAL ARGUMENT REQUESTED
           14                   v.
                   U.S. DEPARTMENT OF HOMELAND              Noted for Consideration: March 2, 2018
           15      SECURITY; U.S. IMMIGRATION AND
                   CUSTOMS ENFORCEMENT; and U.S.
           16      CITIZENSHIP AND IMMIGRATION
                   SERVICES,
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                                       Defendants.
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               1                                            I. INTRODUCTION
               2          Plaintiff Daniel Ramirez Medina was wrongly stripped of his DACA status and work
               3   authorization by the government, and faces the prospect of removal and separation from his family
               4   due to Defendants’ unlawful actions. And now, Defendants’ wrongs prevent Mr. Ramirez from
               5   taking advantage of a recently issued nationwide injunction, applicable to all DACA recipients, that
               6   would allow him to extend his DACA status and work authorization for another two-year period.
               7          Mr. Ramirez accepted the quid pro quo the government offered him in applying for and
               8   renewing DACA status, and he played by the rules of the program. He stepped forward, provided the
               9   government sensitive personal information, passed multiple DHS background checks, paid
           10      substantial fees, and stayed out of trouble. Through DACA, Mr. Ramirez was able to provide for his
           11      family and rest easy knowing that he would not be arrested or detained based solely on his
           12      immigration status. But on February 10, 2017, the government broke its deal with Mr. Ramirez by
           13      unlawfully arresting him and revoking his DACA status, detaining him for weeks without cause, and
           14      trying to justify its wrongdoing with false and unsubstantiated claims that he was a gang member.
           15      The government has not made amends for—or even admitted—its wrongdoing, and Mr. Ramirez
           16      continues to suffer from this arbitrary and unlawful conduct.
           17             Compounding Mr. Ramirez’s ongoing harm and heightening the need for immediate
           18      injunctive relief is the fact that on January 9, 2018, a court in the Northern District of California
           19      issued a preliminary injunction requiring the government to maintain the DACA program on a
           20      nationwide basis and to allow DACA recipients to renew their DACA status. Regents of the Univ. of
           21      Cal. v. U.S. Dep’t of Homeland Sec., Case No. 3:17-CV-05211-WHA, Dkt. 234, Order, at 43 (N.D.
           22      Cal. Jan. 9, 2018) (the “Injunction”). The court recognized that, “[b]efore DACA, [DACA holders],
           23      brought to America as children, faced a tough set of life and career choices turning on the
           24      comparative probabilities of being deported versus remaining here. DACA gave them a more
           25      tolerable set of choices, including joining the mainstream workforce. Now, absent an injunction, they
           26      will slide back to the pre-DACA era and associated hardship.” Id.
           27             Mr. Ramirez is in this precise predicament—the Defendants’ wrongful conduct has forced
           28      him “back to the pre-DACA era and associated hardship” of not being able to work and support his

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               1   family, and of being threatened with exile, despite the deal he made with the government. Without
               2   immediate relief from this Court, Mr. Ramirez cannot benefit from the Injunction, as Defendants
               3   wrongfully stripped him of his DACA status, and thus he cannot seek renewal of that status pursuant
               4   to the Injunction, or otherwise receive the benefits of DACA status.
               5           Mr. Ramirez respectfully requests that this Court order the government to reinstate Mr.
               6   Ramirez’s DACA status and his work permit. Other district courts throughout the country—
               7   including two in the Ninth Circuit—have granted similar injunctions in recent months, recognizing
               8   the serious harm that wrongfully terminating DACA causes to those who meet the program’s
               9   criteria. 1 The case before this Court is no different and presents similar, if not more compelling
           10      circumstances, warranting immediate relief.
           11                                                    II. BACKGROUND
           12      A.      The establishment of DACA
           13              On June 15, 2012, then-Secretary of Homeland Security Janet Napolitano issued a
           14      memorandum establishing the DACA program (the “2012 DACA Memorandum”). Dkt. 78-3, at 1.
           15      Under DACA, individuals who were brought to the United States as young children and meet certain
           16      specific criteria may request deferred action for a period of two years, subject to renewal. In
           17      exchange, applicants are required to provide the government with highly sensitive personal
           18      information, submit to a rigorous background check, and pay a considerable fee. The 2012 DACA
           19      Memorandum explained that DACA covers “certain young people who were brought to this country
           20      as children and know only this country as home” and that the immigration laws are not “designed to
           21      remove productive young people to countries where they may not have lived or even speak the
           22      language.” Id. at 1–2.
           23              Like other forms of deferred action, DACA serves the government’s interests by allowing the
           24      government to prioritize its resources and exercise discretion for its own convenience and to advance
           25      sound policies. As the government has recognized, our nation “continue[s] to benefit . . . from the
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                    1
                         See Inland Empire-Immigrant Youth Collective v. Duke, 2017 WL 5900061, at *10 (C.D. Cal. Nov. 20, 2017)
                   (enjoining “USCIS’s decision to terminate Plaintiff’s status under [DACA]”); Gonzalez Torres v. U.S. Dep’t of Homeland
           28      Sec., 2017 WL 4340385, at *7 (S.D. Cal. Sept. 29, 2017) (same); Coyotl v. Kelly, 261 F. Supp. 3d 1328, 1344–45 (N.D.
                   Ga. June 12, 2017) (same).

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               1   contributions of those young people who have come forward and want nothing more than to
               2   contribute to our country and our shared future.” Dkt. 78-2, at 2 (Letter from Secretary Jeh Charles
               3   Johnson to Rep. Judy Chu (Dec. 30, 2016)).
               4          1.      The DACA application process
               5          To apply for DACA, applicants must submit extensive documentation establishing that they
               6   meet the criteria. Dkt. 78-1, at 9–15 (USCIS DACA FAQs, Q28–41). They must also undergo a
               7   thorough background check, in which DHS reviews the applicant’s biometric and biographic
               8   information “against a variety of databases maintained by DHS and other federal government
               9   agencies.” Id. at 7 (USCIS DACA FAQs, Q23). If any information “indicates that [the applicant’s]
           10      presence in the United States threatens public safety or national security,” the applicant is ineligible
           11      for DACA absent “exceptional circumstances.” Id. at 23 (USCIS DACA FAQs, Q65).
           12             Indicators that an individual poses a safety threat include “gang membership.” Id.
           13      Accordingly, “[a]ll DACA requests presenting information that the requestor is or may be a member
           14      of a criminal street gang are referred to the Background Check Unit (BCU).” Dkt. 78-5, at 1 (Letter
           15      from USCIS Director León Rodríguez to Senate Judiciary Committee Chairman Charles E. Grassley
           16      (Apr. 17, 2015)) (“USCIS Letter”). If gang membership is confirmed, the DACA application is
           17      denied absent a determination by USCIS that an exception should be made given the totality of the
           18      circumstances. Id. at 2. In 2015, USCIS conducted an additional screening of all individuals granted
           19      deferred action under DACA—including Mr. Ramirez—“to identify records that contained
           20      information indicating known or suspected gang association.” Id. at 4.
           21             2.      Limitations on revoking an individual’s DACA status
           22             DHS’s “National Standard Operating Procedures” set forth strict guidelines for revoking
           23      DACA status. See Dkt. 78-6 (“DACA SOP”). Most relevant, before revoking DACA, the
           24      government must provide a “Notice of Intent to Terminate” (“NIT”) which “thoroughly explain[s]”
           25      the grounds for the proposed DACA termination. Id. at 132 and Appendix I. The DACA SOP then
           26      directs that individuals served with an NIT are to be afforded “33 days to file a brief or statement
           27      contesting the grounds cited in the [NIT]” before their DACA status is terminated. Id. at 132.
           28             The exception to the requirements of notice and an opportunity to respond is where there are

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               1   “criminal, national security, or public safety concerns” that “are deemed to be EPS.” Id. at 132–33.
               2   The DACA SOP defines EPS—which stands for “Egregious Public Safety Concern”—as “[a]ny case
               3   where routine systems and background checks indicate that an individual is under investigation for,
               4   has been arrested for (without disposition), or has been convicted of, a specified crime, including but
               5   not limited to, murder, rape, sexual abuse of a minor, trafficking in firearms or explosives, or other
               6   crimes listed in the November 7, 2011 [USCIS policy memorandum regarding the issuance of NTAs
               7   (“USCIS NTA Memorandum”)].” Id. at 8.
               8           Additionally, when ICE encounters an individual who may be eligible for DACA, the agency
               9   uses a prosecutorial discretion checklist. Dkt. 93, at 5 (“ICE AR”). This checklist provides that if the
           10      “only basis for ineligibility is an alleged . . . threat to national security or public safety,” the agents
           11      should “consult with the [ICE Office of Chief Counsel].” Id. (emphasis omitted).
           12      B.      Mr. Ramirez benefitted from his DACA status
           13              1.      Mr. Ramirez was twice granted DACA status
           14              In late 2013, Mr. Ramirez first applied for deferred action and work authorization pursuant to
           15      DACA. Dkt. 78-15 ¶ 3 (Declaration of Daniel Ramirez Medina (“Ramirez Decl.”)). As part of this
           16      process, Mr. Ramirez provided the government with his birth certificate, school records, and
           17      information about where he lived, and was required to attend a biometrics appointment so that USCIS
           18      could take his fingerprints and photographs. Id. Mr. Ramirez was granted deferred action and work
           19      authorization in 2014. Id. ¶ 6. In 2016, Mr. Ramirez reapplied for DACA, and was again granted
           20      deferred action and work authorization after being once again subject to rigorous vetting. Id. ¶ 9.
           21              The government sent Mr. Ramirez an approval notice (the “2016 Approval Notice”),
           22      providing that, “[u]nless terminated, this decision to defer removal action will remain in effect for 2
           23      years” and is valid to May 4, 2018. Dkt. 78-7. The 2016 Approval Notice advised Mr. Ramirez that
           24      his deferred action could be terminated if he engaged in “[s]ubsequent criminal activity.” Id. DHS
           25      has therefore confirmed on three separate occasions that Mr. Ramirez does not pose a threat to
           26      national security or public safety—first in 2014, when he applied for DACA; then again in 2015,
           27      when USCIS conducted an additional screening of all DACA beneficiaries; and finally in 2016, when
           28      he reapplied for DACA. This finding was again confirmed by the government’s lawyer on March 28,

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               1   2017, when he stated in immigration court that the government had no evidence that Mr. Ramirez
               2   was a threat to public safety. And two different immigration judges made findings that Mr. Ramirez
               3   1) was not a threat to public safety, and 2) was not a gang member. 2 Declaration of Nathaniel L.
               4   Bach (“Bach Decl.”) ¶ 2; Dkt. 78-22, at 1 (Notice to EOIR); see also 8 C.F.R. § 236.1(c)(8) (2017).
               5           2.       Mr. Ramirez received many benefits from DACA
               6           DACA confers many benefits beyond deferred action, many of which Mr. Ramirez received
               7   and took advantage of. Ramirez Decl. ¶¶ 5-7. These benefits include work authorization, eligibility
               8   for public benefits such as Social Security, retirement, and disability and, under Washington law,
               9   unemployment insurance, financial aid, and food assistance. SAC ¶¶ 28-29, 32. DACA also allows
           10      beneficiaries access to other important benefits, enabling recipients to open bank accounts, start
           11      businesses, purchase homes and cars, and conduct other aspects of daily life that are otherwise often
           12      unavailable to them. See SAC ¶¶ 30–31. Accordingly, revocation of DACA implicates a broad
           13      range of valuable benefits that include, but extend well beyond, the immigration context.
           14      C.      The government’s unlawful and arbitrary conduct
           15              1.       Mr. Ramirez’s unlawful arrest and detention
           16              On February 10, 2017, a team of ICE agents arrested Mr. Ramirez’s father outside of the
           17      apartment where Mr. Ramirez, his father, and his brother were then living. Ramirez Decl. ¶ 14. The
           18      ICE agents then entered the apartment and began to question Mr. Ramirez. He told the agents his
           19      name and birthdate, and that he was born in Mexico. Id. ¶ 15. At this point, one of the agents
           20      handcuffed Mr. Ramirez. Id. Mr. Ramirez told the ICE agents repeatedly that he had a valid work
           21      permit, but the ICE agents refused to release him. Id. Mr. Ramirez’s father also repeatedly told the
           22      ICE agents that Mr. Ramirez had a valid work permit, and questioned why he was being detained.
           23      Dkt. 78-16 ¶ 11 (Declaration of Josue L. (“Josue L. Decl.”)). The ICE agents did not ask any
           24      questions at the apartment regarding whether Mr. Ramirez was involved with a gang, nor did they ask
           25      him about his tattoo. Ramirez Decl. ¶ 16. Despite being told repeatedly that Mr. Ramirez was
           26      authorized to be in the United States, the agents took him into custody and brought him to a holding
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                       Relevant portion of January 17 ,2018 Immigration Court hearing transcript will be submitted to the Court once it
                   becomes available to counsel.

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               1   facility in Tukwila, Washington. Id. ¶¶ 16–17; see also Dkt. 78-8, at 3 (“Form I-213”).
               2          At the holding facility, the ICE agents confiscated Mr. Ramirez’s work permit. Ramirez
               3   Decl. ¶ 17. This permit was marked with a “C33” designation, which identified Mr. Ramirez as a
               4   DACA recipient with work authorization. See Dkt. 78-6, at 112. The ICE agents also fingerprinted
               5   Mr. Ramirez and used this information to access his records, which revealed that Mr. Ramirez had no
               6   criminal history, had twice been granted DACA status, and possessed valid employment
               7   authorization through May 4, 2018. See Ramirez Decl. ¶ 17. When Mr. Ramirez again protested that
               8   he had a work permit, he was told by Defendants’ agents that it did not matter because he “was not
               9   from the United States.” Id. Defendants subsequently cited Mr. Ramirez’s receipt of DACA as
           10      evidence of his “illegal” status in the Form I-213. Form I-213 at 3.
           11             The ICE agents further interrogated Mr. Ramirez, asking him at least five times whether he
           12      was in a gang, and each time he denied any gang affiliation. Ramirez Decl. ¶¶ 19–22. The ICE
           13      agents repeatedly pressed him as to whether he had ever known anyone who was a gang member. Id.
           14      Under pressure from the agents’ aggressive interrogation, Mr. Ramirez told them that, when he was
           15      in high school, he used to “hang out with” some people who were in gangs, but that he himself was
           16      not gang affiliated and never had been. Id. ¶ 22.
           17             The ICE agents also interrogated Mr. Ramirez about the tattoo on his forearm. Id. ¶ 23. He
           18      got this tattoo when he was 18 years old, before he first applied for DACA. Id. The tattoo consists of
           19      the words “La Paz – BCS”—his birthplace in Baja California Sur—and a nautical star. Id. ¶¶ 23–24.
           20      During the interrogation, one of the ICE agents said that if Mr. Ramirez was from Fresno, he was
           21      “definitely a gang member” because everyone in Fresno is a member of the “bulldogs” gang, and that
           22      Mr. Ramirez’s tattoo was a “bulldogs” tattoo. Id. ¶¶ 21–25. Mr. Ramirez repeatedly told the ICE
           23      agents that the tattoo is not a gang tattoo, but they refused to believe him. Id. ¶ 25.
           24             Mr. Ramirez was then transferred to Northwest Detention Center, where he remained in
           25      custody for the next 47 days. Pursuant to an order of this Court, Mr. Ramirez received a bond
           26      hearing in Immigration Court on March 28, 2017. See Dkt. 69, at 3. At the bond hearing, the
           27      government did not offer any evidence to show that Mr. Ramirez a gang member and instead
           28      conceded that Mr. Ramirez is not a danger to the community. Bach Decl. ¶ 2 (“I don’t believe from

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               1   this record there is enough for us to argue that he’s a danger to the community . . . .”). The
               2   Immigration Judge concluded that Mr. Ramirez is neither a flight risk nor a danger to the community
               3   and should be released on bond. Dkt. 78-22, at 1 (Notice to EOIR); see also 8 C.F.R. § 236.1(c)(8)
               4   (2017). Mr. Ramirez was released on March 29, 2017. Dkt. 78-22, at 1.
               5          Defendants have not produced any evidence to support their false claim that Mr. Ramirez is
               6   “gang affiliated.” Indeed, Mr. Ramirez’s attorneys have repeatedly asked the government to produce
               7   any evidence to establish that Mr. Ramirez is a gang member, but Defendants failed to do so time and
               8   again. Declaration of Mark D. Rosenbaum, ¶¶ 4-7. And Mr. Ramirez has submitted extensive
               9   evidence demonstrating that he is not, and never has been, a gang member. In addition to evidence
           10      demonstrating that he successfully passed three separate DHS background checks, Mr. Ramirez
           11      submitted numerous sworn declarations attesting to the fact that he has never had any gang
           12      affiliation. E.g., Ramirez Decl. ¶¶ 19–20; Josue L. Decl. ¶ 4; Dkt. 78-17 ¶¶ 8–9 (Declaration of Luz
           13      L.); Dkt. 78-18 ¶ 8 (Declaration of Nancy L.).
           14             Additionally, three independent experts rebutted Defendants’ claims that Mr. Ramirez is gang
           15      affiliated. Martin Flores, who has served as a gang expert in more than 700 cases, stated that he has
           16      “never seen a gang member with a similar tattoo nor would [he] attribute this tattoo to have any gang-
           17      related meaning.” Dkt. 78-19 ¶ 11 (Declaration of Martin M. Flores (“Flores Decl.”)). Another gang
           18      expert, Dr. Edwina Barvosa, similarly stated that there is “no apparent evidence that Mr. Ramirez
           19      Medina has ever been a gang member himself.” Dkt. 78-20 ¶ 10 (Declaration of Edwina Barvosa,
           20      PhD (“Barvosa Decl.”)). And Carlos García, a Mexican researcher who has written extensively on
           21      gangs in California and Central America, noted that “‘[a]ny argument about gang ties based on
           22      [Mr. Ramirez’s] tattoo is weak at best; this tattoo does not show any gang affiliation.’” Dkt. 78-21, at
           23      4 (Jonathan Blitzer, A Case That Could Determine the Future for Dreamers, The New Yorker (Mar.
           24      15, 2017), https://goo.gl/SWDUhs).
           25             2.      The unlawful and arbitrary revocation of Mr. Ramirez’s DACA status
           26             Defendants issued a Notice to Appear on February 10, 2017, alleging as the basis for removal
           27      that Mr. Ramirez was unlawfully present in the United States. Dkt. 78-9, at 1 (“NTA”). USCIS sent
           28      Mr. Ramirez a Notice of Action dated February 17, 2017. Dkt. 78-10, at 1 (“NOA”). The NOA

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               1   states that Mr. Ramirez’s deferred action and employment authorization terminated “automatically”
               2   on the date the NTA was issued, and provides that “[a]n appeal or motion to reopen/reconsider this
               3   notice of action may not be filed.” Id.
               4           As explained above, DHS policy requires the government to provide an NIT and 33 days for a
               5   response prior to terminating DACA status, unless the case involves an EPS issue. DACA SOP at
               6   132 and Appendix I. Mr. Ramirez was never provided with an NIT, nor was he given 33 days—or
               7   any time at all—to respond to such a notice or otherwise contest the revocation of his DACA status
               8   or work permit. The government’s own records demonstrated that Mr. Ramirez had “no criminal
               9   history” and the various database checks run at the time of his arrest did not reflect any flags or
           10      investigations, making any claim on the government’s part that this was an EPS case highly unlikely.
           11      Form I-213 at 4. Further, the ICE officers who arrested Mr. Ramirez failed to consult with the Office
           12      of Chief Counsel for further review, as is required where a purported “threat to . . . public safety” is
           13      the reason for DACA ineligibility. ICE AR at 5 (emphasis omitted). 3
           14              Defendants’ arbitrary decision and failure to follow their own procedures resulted in
           15      tremendous, and entirely avoidable, harm to Mr. Ramirez. One of the primary purposes of such
           16      procedures is to prevent errors like those that occurred here, which can have life-altering
           17      consequences for DACA recipients and their families. Here, Mr. Ramirez—a young father the
           18      government now admits is no threat to public safety—was kept behind bars for more than six weeks
           19      and is being deprived of the ability to earn a living and support his family, as well as the other
           20      benefits that DACA status provides, like protection from the removal now facing him because of the
           21      removal order issued on January 17, 2018. 4 See Third Suppl. Decl. of Ramirez Medina ¶ 2.
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                         The checklist provides that consultation with the Office of Chief Counsel is required when an alleged public safety
           23      concern is the “only basis for ineligibility.” ICE AR at 5. Here, the ICE agents checked boxes for public safety concerns
                   and lack of enrollment in school. Id. However, under USCIS policy, Mr. Ramirez was not required to be enrolled in
           24      school after his initial request for DACA was approved. See USCIS DACA FAQs, Q54.
                    4
           25            Other courts have held that the government is violating its own procedures in revoking DACA. See Regents of
                   Univ. of Cal. v. U.S. Dep’t of Homeland Sec., No. 3:17-cv-05211-WHA, Dkt. 111, Mot. For Prelim. Inj. (N.D. Cal. Nov.
           26      1, 2017) (and related cases); Coyotl, 261 F. Supp. 3d at 1343 (enjoining decision to terminate Plaintiff’s DACA status and
                   noting that government agencies “failed to present any evidence that they complied with their own administrative
           27      processes and procedures with regard to the termination of Plaintiff’s DACA status”); Montes Bojorquez v. CBP, No.
                   3:17-cv-00780-GPC-NLS, Dkt. 29-1, Mot. for Prelim. Inj. at 22 (S.D. Cal. July 17, 2017) (alleging that DHS unlawfully
           28      expelled plaintiff from United States and then “use[d] their own wrongful conduct as a predicate” to revoke his DACA
                   status).

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               1                                          III. LEGAL STANDARD
               2           A preliminary injunction is warranted where the plaintiff establishes that (1) he is “likely to
               3   succeed on the merits,” (2) he is “likely to suffer irreparable harm in the absence of preliminary
               4   relief,” (3) “the balance of equities” tips in his favor, and (4) an “injunction is in the public interest.”
               5   All. for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1131 (9th Cir. 2011) (quoting Winter v. Nat’l
               6   Res. Def. Council, Inc., 555 U.S. 7, 20 (2008)).
               7           In addition, under the Ninth Circuit’s sliding scale approach, “serious questions going to the
               8   merits and a balance of hardships that tips sharply towards the plaintiff can support issuance of a
               9   preliminary injunction, so long as” the irreparable injury and public interest elements are satisfied.
           10      All. for the Wild Rockies, 632 F.3d at 1135 (internal quotation marks omitted). In other words, “[i]f
           11      the balance of harm tips decidedly toward [Mr. Ramirez], then [he] need not show as robust a
           12      likelihood of success on the merits as when the balance tips less decidedly.” Republic of the
           13      Philippines v. Marcos, 862 F.2d 1355, 1362 (9th Cir. 1988) (internal quotation marks omitted).
           14                                                  IV. ARGUMENT
           15      A.      Mr. Ramirez is likely to succeed on the merits.
           16              Mr. Ramirez is likely to establish that the government’s revocation of his DACA status and
           17      work authorization violated the APA in several ways. Specifically, the government violated the APA
           18      because its conduct was: (1) “arbitrary, capricious, [and] an abuse of discretion,” SAC ¶¶ 85–89; (2)
           19      contrary to its own internal operating procedures and therefore in violation of the Accardi doctrine,
           20      id. ¶ 90; and (3) in violation of Mr. Ramirez’s rights under the Due Process Clause, id. ¶¶ 92–105.
           21              1.      The revocation of Mr. Ramirez’s DACA status was arbitrary and capricious.
           22              The APA “sets forth the procedures by which federal agencies are accountable to the public
           23      and their actions subject to review by the courts.” Franklin v. Massachusetts, 505 U.S. 788, 796
           24      (1992). To ensure that agency actions are reasonable and lawful, a court must conduct a “thorough,
           25      probing, in-depth review” of the agency’s reasoning and a “searching and careful” inquiry into the
           26      factual underpinnings of the agency’s decision. Citizens to Preserve Overton Park, Inc. v. Volpe, 401
           27      U.S. 402, 415–16 (1971). A court “shall” set aside agency action if it is “arbitrary, capricious, an
           28      abuse of discretion, or otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A); see also Butte

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               1   Envtl. Council v. U.S. Army Corps of Eng’rs, 620 F.3d 936, 945 (9th Cir. 2010).
               2            Agency action is “arbitrary and capricious” if the agency “[1] relied on factors which
               3   Congress has not intended it to consider, [2] entirely failed to consider an important aspect of the
               4   problem, [3] offered an explanation for its decision that runs counter to the evidence before the
               5   agency, or [4] is so implausible that it could not be ascribed to a difference in view or the product of
               6   agency expertise.” Ranchers Cattlemen Action Legal Fund United Stockgrowers of Am. v. U.S. Dep’t
               7   of Agric., 499 F.3d 1108, 1115 (9th Cir. 2007) (quoting Motor Vehicle Mfrs. Ass’n v. State Farm
               8   Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983)).
               9            While the government asserted “that it is allowed to withdraw DACA at any time for no
           10      reason at all,” Ramirez Medina v. U.S. Dep’t of Homeland Sec., 2017 WL 5176720, at *9 (W.D.
           11      Wash. Nov. 8, 2017), the APA nevertheless requires the government to “exercise its discretion in a
           12      reasoned manner” and make discretionary decisions “based on non-arbitrary, ‘relevant factors,’”
           13      Judulang v. Holder, 565 U.S. 42, 53, 55 (2011). Indeed, the Supreme Court emphasized that, even
           14      where agencies retain substantial discretion, “courts retain a role, and an important one, in ensuring
           15      that agencies have engaged in reasoned decisionmaking.” Id. at 53. In such circumstances, courts
           16      “must assess, among other matters, ‘whether the decision was based on a consideration of the
           17      relevant factors and whether there has been a clear error of judgment.’” Id. (citation and internal
           18      punctuation omitted). 5 That task “involves examining the reasons for agency decisions—or, as the
           19      case may be, the absence of such reasons.” Id. (citing FCC v. Fox Television Stations, Inc., 556 U.S.
           20      502, 515 (2009) (noting “the requirement that an agency provide reasoned explanation for its
           21      action”)). Here, the government’s abrupt and unsupported decision to revoke Mr. Ramirez’s DACA
           22      was arbitrary, capricious, and unlawful for multiple reasons. 5 U.S.C. § 706(2)(A).
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                         The Supreme Court’s decision in Judulang is especially instructive. There, the Court considered a Board of
                   Immigration Appeals (“BIA”) rule governing eligibility for suspension of deportation. 565 U.S. at 46–47. The Court
           26      made clear that, although the relief was ultimately within the agency’s discretion, “the BIA’s approach must be tied, even
                   if loosely, to the purposes of the immigration laws or the appropriate operation of the immigration system.” Id. at 55.
           27      The Court emphasized that “[a] method for disfavoring deportable aliens . . . that neither focuses on nor relates to an
                   alien’s fitness to remain in the country—is arbitrary and capricious.” Id. Ultimately, the Court invalidated the BIA rule
           28      because it was based on “a matter irrelevant to the alien’s fitness to reside in this country,” and concluded that the BIA
                   therefore “has failed to exercise its discretion in a reasoned manner.” Id.

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               1                   a.       Defendants’ reliance on unlawful presence was arbitrary and capricious.
               2           The government’s one-page NOA states that Mr. Ramirez’s DACA and employment
               3   authorization were “terminated automatically” based upon the issuance of a NTA. NOA at 1. The
               4   NTA, in turn, alleges only that Mr. Ramirez is subject to removal as “an alien present in the United
               5   States without being admitted or paroled.” NTA at 1. But lack of lawful immigration status is a
               6   predicate to DACA eligibility and common among every DACA recipient. For this reason, “the
               7   issuance of an NTA charging presence without admission does not provide a reasoned basis for
               8   terminating DACA.” Inland Empire, 2017 WL 5900061, at *6 (internal quotation marks omitted).
               9   On the contrary, the government’s failure to provide any reasoning in the NTA or NOA for
           10      “automatically” terminating Mr. Ramirez’s DACA demonstrates that its decision was arbitrary and
           11      irrational. See id. at *7 (“[G]iven that all DACA recipients are necessarily removable due to their
           12      unauthorized presence, ‘[t]he agency’s reliance on an NTA citing [Plaintiff’s] presence without
           13      admission simply fails to explain, much less justify, the agency’s decision to reverse course and
           14      terminate his DACA.” (citation omitted)): cf. Gonzalez Torres, 2017 WL 4340385, at *6. For this
           15      reason alone, Mr. Ramirez is likely to succeed on the merits of his APA claim.
           16                      b.       Defendants’ claim that Mr. Ramirez poses an egregious public safety
                                            concern is contradicted by the administrative record.
           17
                           The government’s rationalizations for revoking Mr. Ramirez’s DACA status—none of which
           18
                   appears on the face of the NTA or the NOA—are also insufficient, as they are contradicted by the
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                   administrative record. It is black letter law that courts review agency action according to the
           20
                   contemporaneous reasons given by the agency, and disregard any alternative rationales presented
           21
                   during litigation. See Overton Park, 401 U.S. at 419; see also SEC v. Chenery Corp., 318 U.S. 80,
           22
                   87–88 (1943). The Ninth Circuit further explained that “[t]he rule barring consideration of post hoc
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                   agency rationalizations operates where an agency has provided a particular justification for a
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                   determination at the time the determination is made, but provides a different justification for that
           25
                   same determination when it is later reviewed by another body.” Indep. Mining Co. v. Babbitt, 105
           26
                   F.3d 502, 511 (9th Cir. 1997). 6 Moreover, agency action is arbitrary and capricious if the
           27

           28       6
                        Accord Toor v. Lynch, 789 F.3d 1055, 1064 (9th Cir. 2015) (agency action may only be affirmed based on the


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               1   contemporaneous reasons underlying the decision “run[] counter to the evidence before the agency.”
               2   Ranchers Cattlemen, 499 F.3d at 1115 (internal quotation marks omitted).
               3           The government asserts that ICE officers determined—based on information obtained during
               4   his arrest—that Mr. Ramirez was “affiliated with a gang” and that his DACA was therefore subject to
               5   immediate termination on EPS grounds. See, e.g., Dkt. 90, at 18 (Motion to Dismiss); see also id. at
               6   6 (“ICE may issue an NTA if a disqualifying criminal offense or public safety concern, deemed to be
               7   an Egregious Public Safety (‘EPS’) issue, arises after removal has been deferred under DACA.”
               8   (footnote omitted)). But any such conclusion—which is fundamentally at odds with multiple prior
               9   analyses concluding that Mr. Ramirez did not present an EPS threat—plainly “runs counter to the
           10      evidence before the agency” and presents the sort of inconsistency that is the hallmark of arbitrary
           11      action. Ctr. for Biological Diversity v. Bureau of Land Mgmt., 833 F.3d 1136, 1146 (9th Cir. 2016)
           12      (internal quotation marks omitted).
           13              First, the administrative record does not support the assertion that the information available to
           14      ICE—including information gained “through Plaintiff’s arrest and detention process”—indicated Mr.
           15      Ramirez was a gang member or was “affiliated with a gang.” Dkt. 90, at 18. According to the Form
           16      I-213, an ICE field agent purportedly determined that Mr. Ramirez “does not qualify” for DACA
           17      “due to gang association.” Form I-213 at 3; see also ICE AR at 25. But the Form I-213 includes
           18      only the following conclusory paragraph regarding purported “gang activity”:
           19                       Subject was asked if he is or has been involved with any gang activity.
                                    Subject stated “No not no more”. Subject was questioned further
           20
                                    regarding the gang tattoo on his forearm. Subject then stated that he
           21                       used to hang out with the Sureno’s in California. Subject stated that he
                                    fled California to escape from the gangs. Subject stated that he still
           22                       hangs out with the Paizas in Washington State.
           23      Form I-213 at 3. 7 These assertions—even if they were true—do not support the conclusion that Mr.

           24      Ramirez is gang-affiliated. For example, although the Form I-213 asserts (without explanation) that

           25      contemporaneous “explanations offered by the agency”) (internal quotation marks omitted) (quoting Arrington v. Daniels,
                   516 F.3d 1106, 1112–13 (9th Cir. 2008)); Shirrod v. Dir., Office of Workers’ Comp. Programs, 809 F.3d 1082, 1087 n.4
           26      (9th Cir. 2015) (court must “review only what [the agency] did, not what [it] could have done”).

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                         All references herein are to the first-filed Form 1-213. As this Court has recognized, the government has submitted
                   two different 1-213 forms, both of which purport to be signed on the same day, by the same person, but the second-filed
           28      of which omits language that is harmful to the government’s defense. See Dkt 93, at ICE CAR 000023–29. This conduct
                   is a prime example of the government’s shifting narrative and lack of real evidence to support their contentions.

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               1   Mr. Ramirez had a “gang tattoo,” the tattoo in question consists merely of the words “La Paz – BCS”
               2   and a nautical star. “La Paz” is Mr. Ramirez’s birthplace, “BCS” stands for Baja California Sur (the
               3   region in which La Paz is located), and the nautical star is a popular symbol. Indeed, Martin Flores,
               4   who has served as a gang expert in more than 700 cases, indicated that he has “never seen a gang
               5   member with a similar tattoo nor would [he] attribute this tattoo to have any gang-related meaning.”
               6   Flores Decl. ¶ 11. 8 And despite being confronted with contrary evidence, the government has offered
               7   no explanation, let alone evidence (contemporaneous or otherwise) to support its assertion that the
               8   tattoo in question is a “gang tattoo.” Similarly, the claims that Mr. Ramirez “used to hang out with
               9   the Sureno’s in California,” “fled California to escape from the gangs,” and “still hangs out with the
           10      Paizas in Washington State” do not support the conclusion he was affiliated with any gang, as
           11      opposed to just having known gang-affiliated individuals (which cannot be avoided for individuals
           12      living in certain neighborhoods). Barvosa Decl. ¶ 9; see also Ramirez Decl. ¶ 22.
           13               And none of these vague assertions was remotely sufficient to rebut or supersede the formal
           14      findings of three separate DHS background checks, spread over two years, including the additional
           15      screening of all DACA recipients that was specifically meant to uncover evidence of “known or
           16      suspected gang association.” USCIS Letter at 4. The careful and thorough vetting and the ultimate
           17      findings of these three separate background checks cannot be overridden or ignored based upon “the
           18      fortuity of an individual official’s decision” regarding gang activity. Judulang, 565 U.S. at 58; cf. id.
           19      (reversing agency decision where “[a]n alien appearing before one official may suffer deportation[,
           20      while] an identically situated alien appearing before another may gain the right to stay in this
           21      country”); cf. also Delgadillo v. Carmichael, 332 U.S. 388, 391 (1947) (recognizing the “high and
           22      momentous” stakes for an immigrant who has long resided in this country, and reversing a decision
           23      that would “make his right to remain here dependent” on “fortuitous and capricious” circumstances).
           24               Underscoring Defendants’ bad faith efforts to fabricate this post hoc justification is the
           25      government’s recent evidentiary submission made to the Immigration Court in connection with Mr.
           26

           27
                    8
                          Two other experts have also opined that Mr. Ramirez is not associated with a gang. Barvosa Decl. ¶ 10 (stating that
                   there is “no apparent evidence that Mr. Ramirez Medina has ever been a gang member himself”); Blitzer, supra (quoting
           28      expert Carlos García as explaining that “[a]ny argument about gang ties based on [Mr. Ramirez’s] tattoo is weak at best;
                   this tattoo does not show any gang affiliation”).

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               1   Ramirez’s January 17, 2018 hearing. The so-called evidence proffered amounts to nothing more than
               2   random articles regarding gang membership that bear no relation to Mr. Ramirez and stand for
               3   nothing more than the abstract propositions that gang members often do not willingly admit gang
               4   membership, and that some gangs discourage their members from obtaining tattoos. Bach Decl. ¶ 5,
               5   at 37, 42 (DHS’s Second Submission of Evidence). In any event, many of those articles relate to
               6   Central American gangs (from El Salvador, Guatemala or Honduras), and Mr. Ramirez is from
               7   Mexico. Id. at 40–43. Without evidence of gang affiliation, the government has apparently shifted
               8   tactics to claiming that Mr. Ramirez’s denials of gang affiliation and absence of gang tattoos should
               9   be considered evidence of gang affiliation. These attempts were rightly rejected by the Immigration
           10      Judge, who made a specific finding that Mr. Ramirez is not a gang member. 9
           11              Second, even if the evidence did suggest that Mr. Ramirez “was affiliated with a gang,” Dkt.
           12      90, at 18, which it does not, the further conclusion that Mr. Ramirez presented an EPS issue would
           13      still “run[] counter to the evidence before the agency.” Ctr. for Biological Diversity, 833 F.3d at
           14      1146 (internal quotation marks omitted). Importantly, under the governing DACA SOP, an
           15      individual presents an EPS issue only when “routine systems and background checks indicate that [he
           16      or she] [1] is under investigation for, [2] has been arrested for (without disposition), or [3] has been
           17      convicted of, a specified crime, including but not limited to, murder, rape, sexual abuse of a minor,
           18      trafficking in firearms or explosives, or other crimes listed in the November 7, 2011 [USCIS NTA
           19      Memorandum].” DACA SOP at 8 (emphases added). Here, nothing in the administrative record
           20      suggests that, at the time of his unlawful arrest—or at any other time—“routine systems and
           21      background checks” indicated Mr. Ramirez was “under investigation for,” “arrested for,” or
           22      “convicted of” any “specified crime.” See Form I-213 at 1–4. 10 Indeed, the government does not
           23      argue otherwise. Rather, as stated above, the government maintains only that “information [obtained]
           24      through Plaintiff’s arrest and detention process, including interviews with Plaintiff,” “suggested . . .
           25

           26       9
                        See n.2, supra.
                   10
           27            Neither gang membership nor gang affiliation is a “crime.” United States v. Garcia, 151 F.3d 1243, 1244 (9th Cir.
                   1998) (“[G]ang membership itself cannot establish guilt of a crime.”); Munoz v. Rowland, 104 F.3d 1096, 1098 (9th Cir.
           28      1997) (“Associating with gang members is not . . . a crime.”); cf. USCIS NTA Mem. at 3 (statutory definitions for crimes
                   qualifying as EPS).

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               1   that [Plaintiff] was affiliated with a gang.” Dkt. 90, at 18 (emphasis added). But gang affiliation
               2   does not fall within the narrow exception for EPS cases under the DACA SOP.
               3            The record shows that Mr. Ramirez had “no criminal history,” and that checks run at the time
               4   of his arrest did not reflect any flags or investigations. See Form I-213 at 3. Indeed, the
               5   government’s more recent admission that Mr. Ramirez presents no “danger to the community,” see
               6   Bach Decl. ¶ 2 (“I don’t believe from this record there is enough for us to argue that he’s a danger to
               7   the community . . . .”), fatally undermines its claim that Mr. Ramirez presents an “Egregious Public
               8   Safety” issue, especially where its own guidelines reserve that classification for extreme cases
               9   involving actual crimes, like murder, rape, or trafficking in explosives. Any conclusion to the
           10      contrary runs counter to the evidence before the government at the time it terminated Mr. Ramirez’s
           11      DACA, and should be disregarded. 11 At worst, Mr. Ramirez is guilty of having a tattoo.
           12               For all these reasons, DHS’s decision to terminate Mr. Ramirez’s DACA was arbitrary and
           13      capricious and in violation of the APA. See, e.g., Abdur-Rahman v. Napolitano, 814 F. Supp. 2d
           14      1098, 1110 (W.D. Wash. 2011) (revocation of approved petition to support noncitizen’s permanent
           15      resident status was “arbitrary and capricious” where “agency failed to articulate a rational explanation
           16      for its decision”).
           17               2.       Defendants violated the APA by failing to follow their own internal procedures
           18               Defendants also acted unlawfully and violated the Accardi doctrine as they failed to adhere to
           19      their own internal operating procedures by summarily revoking Mr. Ramirez’s DACA status and
           20      work authorization. See Church of Scientology of Cal. v. United States, 920 F.2d 1481, 1487 (9th
           21      Cir. 1990) (citing United States ex rel. Accardi v. Shaughnessy, 347 U.S. 260, 268 (1954)).
           22      “Pursuant to the Accardi doctrine, an administrative agency is required to adhere to its own internal
           23      operating procedures.” Id. And in the Ninth Circuit, the Accardi doctrine “extends beyond formal
           24      regulations,” to include “internal operating procedures,” “[h]andbook[s],” “policy statement[s],”
           25       11
                         At times in this litigation, e.g., Dkt. 90, at 17, the government has improperly relied upon a prior, now-superseded
           26      definition of EPS that includes those who are (1) “under investigation for” being (2) “known or suspected street gang
                   members,” id. (internal quotation marks omitted; emphasis added). This earlier definition, which is drawn from the 2011
           27      USCIS NTA Memorandum (issued before DACA was established), is inapplicable here, because the subsequently issued
                   DACA SOP excludes gang membership from the definition of EPS. See DACA SOP at 8 (incorporating only certain
           28      enumerated “crimes” into the definition of EPS) (emphasis added).


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               1   “Order[s],” “Standards,” “Directive[s],” “Weekly Bulletin[s],” and unpromulgated rules documenting
               2   “usual practice.” Alcaraz v. INS, 384 F.3d 1150, 1162 (9th Cir. 2004) (internal quotation marks
               3   omitted; citing cases). 12 As discussed above, DACA operates under strict guidelines, and the
               4   determinations at issue here are nondiscretionary. Texas v. United States, 809 F.3d 134, 172–73 (5th
               5   Cir. 2015); Coyotl, 261 F. Supp. 3d at 1340.
               6            Here, it is undisputed that Defendants failed to provide Mr. Ramirez with either an NIT or any
               7   opportunity—let alone 33 days—to contest the allegations against him prior to revoking his DACA
               8   status. In addition, the ICE officers who arrested Mr. Ramirez also failed to comply with the
               9   requirements of the ICE prosecutorial discretion checklist. In particular, the officers did not consult
           10      with the Office of Chief Counsel for further review, as required where a purported “threat to . . .
           11      public safety” is the reason for DACA ineligibility. ICE AR at 5 (emphasis omitted). These failures
           12      violated DHS’s internal guidelines, and, therefore, the Accardi doctrine. See DACA SOP at 132–33;
           13      see also Inland Empire, 2017 WL 5900061, at *6–8; Gonzalez Torres, 2017 WL 4340385, at *5–6.
           14               The government’s undisputed failure to follow the “usual” DACA procedures, Coyotl, 261 F.
           15      Supp. 3d at 1337, cannot be justified by its “post hoc” reliance on inapplicable EPS guidelines. See
           16      Overton Park, 401 U.S. at 419; San Luis & Delta-Mendota Water Auth. v. Jewell, 747 F.3d 581, 603
           17      (9th Cir. 2014). And indeed, as other district courts have recognized, the government cannot bypass
           18      the comprehensive requirements of the DACA SOP by overturning USCIS’s reasoned decision on an
           19      individual officer’s whim. See Inland Empire, 2017 WL 5900061, at *7–8 (“[N]othing in the
           20      Napolitano Memo supports the notion that, once USCIS implemented the DACA adjudication
           21      process and made a considered judgment to grant an individual DACA, the decision could be
           22      unilaterally undone by any ICE or CBP officer—indeed, if such were the case, then the SOPs’ careful
           23      12
                         Indeed, Accardi itself was about the exercise of discretion in immigration removal proceedings. Accardi, 347 U.S.
           24      at 261. And courts have applied Accardi and its principles in a wide variety of administrative and civil enforcement
                   contexts. See, e.g., INS v. Yang, 519 U.S. 26, 32 (1996) (“Though the agency’s discretion is unfettered at the outset, if it
           25      announces and follows-by rule or by settled course of adjudication-a general policy by which its exercise of discretion
                   will be governed, an irrational departure from that policy (as opposed to an avowed alteration of it) could constitute action
           26      that must be overturned as ‘arbitrary, capricious, [or] an abuse of discretion’ within the meaning of the [APA] . . . .”);
                   McDonald v. Gonzales, 400 F.3d 684, 686 & n.5 (9th Cir. 2005) (noting that “INS is obligated to follow its own policy”
           27      when investigating potential immigration violations); Sameena Inc. v. U.S. Air Force, 147 F.3d 1148, 1153 (9th Cir.
                   1998) (decision to debar government contractors); NLRB v. Welcome-Am. Fertilizer Co., 443 F.2d 19, 20 (9th Cir. 1971)
           28      (NLRB enforcement action); see also Vitarelli v. Seaton, 359 U.S. 535, 539–40 (1959) (termination of employment for
                   security reasons); cf. Coyotl, 261 F. Supp. 3d at 1340.

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               1   and detailed procedures governing DACA terminations would be negated.” (internal quotation marks
               2   omitted)); see also Gonzalez Torres, 2017 WL 4340485, at *6. Because the government failed to
               3   adhere to its own internal operating procedures in summarily revoking his DACA status, Mr.
               4   Ramirez is likely to succeed on the merits of this claim.
               5          3.      Defendants violated the APA by disregarding Mr. Ramirez’s Due Process rights
               6          Even assuming that Defendants complied with their own established procedures, they still
               7   violated the APA by depriving Mr. Ramirez of constitutionally protected liberty and property
               8   interests—including important public benefits and the ability to legally work in the United States—
               9   without due process of law. The Due Process Clause of the Fifth Amendment “protect[s] every
           10      person within the nation’s borders from deprivation of life, liberty or property without due process of
           11      law. Even one whose presence in this country is unlawful, involuntary, or transitory is entitled to that
           12      constitutional protection.” Lopez-Valenzuela v. Arpaio, 770 F.3d 772, 781 (9th Cir. 2014) (en banc)
           13      (quoting Mathews v. Diaz, 426 U.S. 67, 77 (1976)) (internal quotation marks omitted).
           14             “[T]he first question in any case in which a violation of procedural due process is alleged is
           15      whether the plaintiffs have a protected property or liberty interest and, if so, the extent or scope of
           16      that interest.” Nozzi v. Hous. Auth. of City of L.A., 806 F.3d 1178, 1190–91 (9th Cir. 2015), cert.
           17      denied, 137 S. Ct. 52 (2016). The property interests protected by the Due Process Clause “extend
           18      beyond tangible property and include anything to which a plaintiff has a ‘legitimate claim of
           19      entitlement.’” Id. at 1191 (quoting Bd. of Regents of State Colls. v. Roth, 408 U.S. 564, 576–77
           20      (1972)). “A legitimate claim of entitlement is created ‘and [its] dimensions are defined by existing
           21      rules or understandings that stem from an independent source such as state law—rules or
           22      understandings that secure certain benefits and that support claims of entitlement to those benefits.’”
           23      Id. (quoting Roth, 408 U.S. at 577). This independent source may be a statute, a regulation,
           24      “[e]xplicit contractual provisions,” “implied” agreements, or “rules or mutually explicit
           25      understandings.” Perry v. Sindermann, 408 U.S. 593, 601–02 (1972). The Ninth Circuit has further
           26      explained that an individual has a protected property interest in government benefits where
           27      regulations “greatly restrict the discretion of the people who administer those benefits.” Nozzi, 806
           28      F.3d at 1191 (internal quotation marks omitted).

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               1            Here, there is no question that Mr. Ramirez has a legitimate claim of entitlement to his DACA
               2   status and the benefits that status conferred for numerous reasons. Specifically, DHS rules and the
               3   government’s operation of the program, the government’s communications with Mr. Ramirez
               4   regarding DACA, and many government officials’ public promises, collectively created an
               5   understanding that Mr. Ramirez was entitled to DACA and its related benefits as long as he played by
               6   the rules. See Perry, 408 U.S. at 601 (“A person’s interest in a benefit is a ‘property’ interest for due
               7   process purposes if there are such rules or mutually explicit understandings that support his claim of
               8   entitlement to the benefit . . . .”).
               9            First, the rules and guidelines governing DACA, and the government’s operation of the
           10      program, evidence Mr. Ramirez’s legitimate claim of entitlement to his DACA status and related
           11      benefits. For example, the 2012 DACA Memorandum set forth five specific criteria that defined
           12      eligibility for the program, and explicitly instructed DHS agents to prevent individuals who met those
           13      criteria from being apprehended or placed into removal proceedings. Dkt. 78-3, at 1–3; see also Dkt.
           14      78-1, at 5 (USCIS DACA FAQs, Q9) (“[I]f an individual meets the guidelines for DACA, CBP or
           15      ICE should exercise their discretion on a case-by-case basis to prevent qualifying individuals from
           16      being apprehended, placed into removal proceedings, or removed.”). The government also operated a
           17      special hotline—“staffed 24 hours a day, 7 days a week”—to assist individuals who met the DACA
           18      criteria but were apprehended or placed into removal proceedings. Dkt. 78-1, at 5 (USCIS DACA
           19      FAQs, Q9). As a result, the overwhelming majority of applicants who met the basic criteria and
           20      properly submitted their application were granted DACA status. 13 See, e.g., USCIS, Number of Form
           21      I-821D, Consideration of Deferred Action for Childhood Arrivals (Sept. 30, 2017), goo.gl/8AeEcR.
           22      13
                         Boilerplate language in the 2012 DACA Memorandum suggesting that it “confers no substantive right” does not
           23      disturb Mr. Ramirez’s legitimate claim of entitlement. As the Ninth Circuit has explained, the “identification of property
                   interests under constitutional law turns on the substance of the interest recognized, not the name given that interest by the
           24      state.” Newman v. Sathyavaglswaran, 287 F.3d 786, 797 (9th Cir. 2002) (finding a protected property interest despite the
                   state’s “labeling of the interests” otherwise); see also Cleveland Bd. of Educ. v. Loudermill, 470 U.S. 532, 541 (1985)
           25      (allowing the state to unilaterally limit property interests by providing limited procedures would “reduce[]” the Due
                   Process Clause “to a mere tautology”). And such boilerplate language is routinely rejected or ignored. See, e.g.,
           26      Appalachian Power Co. v. EPA, 208 F.3d 1015, 1023 (D.C. Cir. 2000) (finding agency action to be “final” despite
                   “boilerplate” disclaimer that action “[did] not represent final Agency action, and cannot be relied upon to create any rights
           27      enforceable by any party” (internal quotation marks omitted)); see also Scenic Am., Inc. v. U.S. Dep’t of Transp., 836
                   F.3d 42, 56 (D.C. Cir. 2016) (finding agency action to be “final” despite “boilerplate” disclaimer that agency “may
           28      provide further guidance in the future as a result of additional information” (internal quotation marks omitted)).


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               1            Second, DACA is operated under a well-defined framework and governed by highly specific
               2   criteria that “greatly restrict the discretion of the people who administer,” which further underscores
               3   Mr. Ramirez’s legitimate claim of entitlement to his DACA status and related benefits. Nozzi, 806
               4   F.3d at 1191 (finding protected property interest where “regulations closely circumscribe[d] [the
               5   agency’s] discretion” (internal quotation marks omitted)). 14 For example, to ensure compliance with
               6   the criteria set forth in the 2012 DACA Memorandum, ICE agents were required to use a checklist to
               7   determine whether an individual qualified for DACA. 15 ICE AR at 5. This checklist did not provide
               8   ICE agents with discretion. Id. DHS also greatly limited the discretion of those who administer
               9   DACA by issuing the DACA SOP, which provides nearly 150 pages of specific instructions for
           10      managing the program. See Dkt. 78-6. These exacting guidelines are “applicable to all personnel
           11      performing adjudicative functions and the procedures to be followed are not discretionary.” Coyotl,
           12      261 F. Supp. 3d at 1334; see also Gonzalez Torres, 2017 WL 4340385, at *4 (noting that the DACA
           13      SOP is “non-discretionary”). Indeed, the decision to deny or terminate DACA status is subject to
           14      written limitations and, absent special circumstances, requires supervisory review, thereby further
           15      evidencing Mr. Ramirez’s legitimate claim of entitlement. 16 Dkt. 78-6, at 132–34; see, e.g.,
           16      Wedges/Ledges, 24 F.3d at 64 (“substantive limitation on the discretion” of government officials to
           17      revoke licenses created a “protectible property interest”).
           18               Third, public statements and actions from government officials of both political parties
           19      reinforced the understanding that eligible individuals would be granted DACA and that the
           20      government would honor its promises under the program. In December 2016, then-Secretary of
           21      Homeland Security Jeh Johnson publicly stated that “representations made by the U.S. government,
           22      upon which DACA applicants most assuredly relied, must continue to be honored.” Dkt. 78-2, at 1.
           23
                   14
           24            See also Wedges/Ledges of Cal., Inc. v. City of Phoenix, Ariz., 24 F.3d 56, 63 (9th Cir. 1994) (“narrow . . . criterion
                   at the heart of the [city’s] licensing statute” created a protected property interest); Griffeth v. Detrich, 603 F.2d 118, 121
           25      (9th Cir. 1979) (finding protected property interest where “detailed” regulations “greatly restrict[ed] the discretion of”
                   decisionmaker).
           26      15
                        The use of mandatory language in the 2012 DACA Memorandum further underscores the existence of a protected
                   property interest. See, e.g., Wedges/Ledges, 24 F.3d at 63; Griffeth, 603 F.2d at 121.
           27      16
                        The requirement in the DACA SOP that individuals be provided with notice and an opportunity to respond prior to
           28      revocation of their DACA status further underscores that DACA confers interests that are entitled to protection under the
                   Due Process Clause. See Nozzi, 806 F.3d at 1191.

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               1   Public statements and actions affirming this understanding continued following the change in
               2   Administrations. In February 2017, the new Administration specifically exempted DACA from a
               3   DHS memorandum “immediately rescind[ing]” all prior immigration directives that conflicted with
               4   President Trump’s January 25, 2017 Executive Order on immigration enforcement. Dkt. 78-4, at 2.
               5   In March 2017, then-Secretary Kelly reaffirmed that “DACA status” is a “commitment . . . by the
               6   government towards the DACA person, or the so-called Dreamer.” Ted Hesson & Seung Min Kim,
               7   Wary Democrats Look to Kelly for Answers on Immigration, Politico (Mar. 29, 2017),
               8   https://goo.gl/TqyWrn (internal quotation marks omitted). Shortly thereafter, President Trump
               9   emphasized that “dreamers should rest easy” and confirmed that the “policy of [his] administration
           10      [is] to allow the dreamers to stay.” The Associated Press, Excerpts from AP Interview with President
           11      Donald Trump, U.S. News & World Report (Apr. 21, 2017), https://goo.gl/xsqHj3.
           12               Fourth, the government reiterated these promises in its official correspondence to
           13      Mr. Ramirez, vowing that he would not lose DACA’s benefits absent specified misconduct. For
           14      example, the DACA approval notice sent to Mr. Ramirez lists only “fraud or misrepresentation” in
           15      the application process or “[s]ubsequent criminal activity” as grounds for revoking DACA. Dkt. 78-
           16      7. In so doing, the government further confirmed that Mr. Ramirez was entitled to retain his DACA
           17      status as long as he played by the rules. See, e.g., Wedges/Ledges, 24 F.3d at 64.
           18               Ultimately, as this Court has already found, “the representations made to [Mr. Ramirez and
           19      other] applicants for DACA cannot and do not suggest that no process is due to them, particularly in
           20      [Mr. Ramirez’s] case where benefits have already been conferred.” 17 Ramirez Medina, 2017 WL
           21      5176720, at *9; Singh v. Bardini, 2010 WL 308807, at *7 (N.D. Cal. Jan. 19, 2010) (“Even if there is
           22      no constitutional right to be granted asylum, that does not mean that, once granted, asylum status can
           23      17
                         Indeed, once certain benefits are conferred, beneficiaries, including non-citizens, have interests entitled to protection
           24      under the Due Process Clause. See, e.g., Bell v. Burson, 402 U.S. 535, 539 (1971) (holding that “[o]nce [driver’s]
                   licenses are issued, . . . their continued possession may become essential in the pursuit of a livelihood,” such that they
           25      cannot “be taken away without” due process); Morrissey v. Brewer, 408 U.S. 471, 482 (1972) (holding parole revocation
                   requires due process, and noting that parolees—who, through release, gained the ability to “be gainfully employed”—had
           26      “relied on at least an implicit promise that parole [would] be revoked only if [they] fail[ed] to live up to the parole
                   conditions”); Gallo v. U.S. Dist. Court for Dist. of Ariz., 349 F.3d 1169, 1179 (9th Cir. 2003) (“Our case law holds that a
           27      professional license, once conferred, constitutes an entitlement subject to constitutional protection.”); see also Singh v.
                   Bardini, 2010 WL 308807, at *7 (N.D. Cal. Jan. 19, 2010); Abdur-Rahman v. Napolitano, 814 F. Supp. 2d 1087, 1096
           28      (W.D. Wash. 2010) (finding a “strong likelihood of succeeding on the merits of the constitutional claim of denial of due
                   process in the revocation of [plaintiff’s Application for Reentry Permit]”).

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               1   be taken away without any due process protections.” (internal citation omitted)). Mr. Ramirez should
               2   have been afforded at least the pre-termination process that DHS normally provides—i.e., adequate
               3   notice and an opportunity to respond—and not merely an NOA informing him that his DACA had
               4   been “terminated automatically.” Dkt. 78-10, at 1; see Mathews v. Eldridge, 424 U.S. 319, 335
               5   (1976); cf. Singh v. Vasquez, 2009 WL 3219266, at *5 (D. Ariz. Sept. 30, 2009) (Murguia, J.) (noting
               6   “there is a substantial risk of erroneous deprivation through the procedures utilized by INS in
               7   rescinding asylum via a mailed letter” because “[t]his manner of termination does not account for
               8   anything other than post hoc notice . . . that he or she is no longer entitled to protection”), aff’d, 448
               9   F. App’x 776 (9th Cir. 2011); see also id. at *6 (“[A]ll of the Mathews factors weigh in favor of a
           10      finding that due process requires more than sending an after the fact letter of rescission when the
           11      government terminates a grant of asylum.”).
           12             In sum, Mr. Ramirez is likely to succeed on his claims that the government impermissibly
           13      deprived him of liberty and property interests entitled to protection under the Due Process Clause,
           14      and thereby violated the APA by wrongfully depriving him of his DACA status.
           15      B.     Mr. Ramirez has suffered and continues to suffer irreparable harm
           16             Mr. Ramirez has experienced, and continues to experience, ongoing irreparable harm,
           17      weighing heavily in favor of provisional relief. Indeed, all three courts to consider this issue have
           18      recognized that the harm caused by the unwarranted revocation of an individual’s DACA status
           19      justifies preliminary injunctive relief. Inland Empire, 2017 WL 5900061, at *9–10; Gonzalez Torres,
           20      2017 WL 4340385, at *6–7; Coyotl, 261 F. Supp. 3d at 1343–44. And on January 9, 2018, in
           21      enjoining the government to continue to maintain the DACA program on a nationwide basis, the
           22      Northern District of California found that individual plaintiffs who would be deprived of DACA
           23      benefits after program’s rescission “have clearly demonstrated that they are likely to suffer serious
           24      irreparable harm” absent an injunction. Injunction at 43. The same reasoning applies here.
           25             First, “[i]t is well established that the deprivation of constitutional rights ‘unquestionably
           26      constitutes irreparable injury.’” Hernandez v. Sessions, 872 F.3d 976, 994 (9th Cir. 2017) (quoting
           27      Melendres v. Arpaio, 695 F.3d 990, 1002 (9th Cir. 2012)). Mr. Ramirez has demonstrated that the
           28      government’s arbitrary revocation of his DACA status violated his Fifth Amendment due process

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               1   rights. As with the unlawfully detained immigrants in Hernandez and Melendres, “it follows
               2   inexorably from [the] conclusion that the government’s [action is] likely unconstitutional” that
               3   Mr. Ramirez “ha[s] also carried [his] burden as to irreparable harm.” Hernandez, 872 F.3d at 995.
               4           Second, the revocation of his DACA status has injured and continues to injure Mr. Ramirez in
               5   several other ways, each of which is irreparable and sufficient to warrant an injunction here. 18 For
               6   example, and as discussed more thoroughly below, he is not able to apply for renewal of his DACA
               7   status, and thus take advantage of the opportunity that currently exists under the Injunction. Further,
               8   because his DACA status was unlawfully revoked, Mr. Ramirez is currently accruing time for
               9   unlawful presence, which may affect his ability to pursue legal presence or status in the United States
           10      through other avenues in the future. See Dkt. 78-1, at 3 (USCIS DACA FAQs, at Q5); 8 U.S.C.
           11      § 1182(a)(9)(B)–(C). Mr. Ramirez is also being denied access to DACA’s many public benefits,
           12      such as paying into Social Security, retirement, and disability accounts, and the ability to take
           13      advantage of unemployment insurance, financial aid, and food assistance. See SAC ¶¶ 28–29, 32.
           14              After spending more than six weeks in detention and more than six months staying with
           15      family, dependent on them for everything, Mr. Ramirez is still unable to earn an income due to his
           16      lack of work authorization, leaving his family in a debilitating state of financial insecurity. Third
           17      Suppl. Decl. of Ramirez Medina ¶ 3. And should he not recover the benefits that DACA status
           18      affords, he will again suffer additional harm by separation from family, as he did when he was
           19      wrongfully detained. See Hawaii v. Trump, 878 F.3d 662, 669 (9th Cir. 2017) (“prolonged separation
           20      from family members” is a harm not compensable with money damages and therefore weighs in
           21      favor of finding irreparable harm (internal quotation marks omitted)). These practical injuries are
           22      continuing irreparable harms that justify injunctive relief. See Ariz. Dream Act Coal., 757 F.3d at
           23      1068; Inland Empire, 2017 WL 5900061, at *9–10; Gonzalez Torres, 2017 WL 4340385, at *6.
           24              Third, the emotional harm Mr. Ramirez is enduring is seriously affecting his well-being.
           25      Third Suppl. Decl. of Ramirez Medina ¶¶ 3–4. DACA provides recipients with a sense of security,
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                         See, e.g., Hernandez, 872 F.3d at 995 (recognizing “the economic burdens imposed on detainees and their families”
                   as supporting injunctive relief); Ariz. Dream Act Coal. v. Brewer, 757 F.3d 1053, 1068 (9th Cir. 2014), permanent
           28      injunction aff’d, 855 F.3d 957 (9th Cir. 2017); Enyart v. Nat’l Conference of Bar Examiners, Inc., 630 F.3d 1153, 1166
                   (9th Cir. 2011).

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               1   which the government has wrongfully taken away from Mr. Ramirez. See Gonzalez Torres, 2017
               2   WL 4340385, at *6 (“The loss of DACA status also undermines one’s sense of well-being and
               3   subjects Plaintiff to a constant threat of apprehension and possible removal from the only country he
               4   has called home.”); Coyotl, 261 F. Supp. 3d at 1343–44. Also, until his DACA status is restored and
               5   he can re-establish himself as a productive member of society, Mr. Ramirez will continue to be
               6   viewed as an alleged gang member and “‘Daniel from the news.’” Dkt. 50 ¶ 6 (Second Suppl. Decl.
               7   of Ramirez Medina). These emotional and psychological injuries constitute irreparable harm
               8   warranting provisional relief. See, e.g., Chalk v. U.S. Dist. Court Cent. Dist. of Cal., 840 F.2d 701,
               9   710 (9th Cir. 1988); Norsworthy v. Beard, 87 F. Supp. 3d 1164, 1192 (N.D. Cal. 2015).
           10             Finally, while he is deprived of his DACA status, Mr. Ramirez cannot take advantage of any
           11      benefits that might be conferred to DACA holders by federal legislation or by the courts. As already
           12      described, just weeks ago the Injunction required the government “to maintain the DACA program on
           13      a nationwide basis on the same terms and conditions as were in effect before the rescission on
           14      September 5, 2017, including allowing DACA enrollees to renew their enrollments.” Injunction at
           15      46. Within days, USCIS began processing renewal applications. Bach Decl. ¶ 4. However, Mr.
           16      Ramirez is not able to take advantage of this opportunity to extend his DACA benefits for two more
           17      years. Cf. Gonzalez Torres, 2017 WL 4340385, at *6 (loss of the “ability to apply for renewal” of
           18      DACA status found to be irreparable harm); Coyotl, 261 F. Supp. 3d at 1343–44. While this
           19      litigation is pending, Mr. Ramirez should not be required to forgo the benefits that the government
           20      twice conferred on him, particularly should the legal or political landscape shift again so as to
           21      foreclose DACA holders’ opportunity to renew their status.
           22      C.     The balance of equities and public interest weigh heavily in favor of provisional relief
           23             The final two elements of the preliminary injunction test—the balance of the equities and the
           24      public interest—merge when the government is a party. See League of Wilderness Defs./Blue
           25      Mountains Biodiversity Project v. Connaughton, 752 F.3d 755, 766 (9th Cir. 2014). Here, these
           26      factors weigh overwhelmingly in favor of provisional relief. See Inland Empire, 2017 WL 5900061,
           27      at *10. The government will face no harm if a preliminary injunction is granted. First, the
           28      government has no interest in enforcing unlawful rules or failing to follow its own non-discretionary

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               1   procedures. See Rodriguez v. Robbins, 715 F.3d 1127, 1145 (9th Cir. 2013) (“[Government] cannot
               2   suffer harm from an injunction that merely ends an unlawful practice.”); Ariz. Dream Act Coal., 855
               3   F.3d at 978 (“[I]t is clear that it would not be equitable or in the public’s interest to allow the state to
               4   violate the requirements of federal law, especially when there are no adequate remedies available.”
               5   (quoting Valle del Sol, Inc. v. Whiting, 732 F.3d 1006, 1029 (9th Cir. 2013)). Moreover, as described
               6   in detail above, the government has twice granted DACA status to Mr. Ramirez, and his
               7   qualifications upon which those decisions were based have not changed. As such, restoring the status
               8   quo while this litigation is pending cannot and will not harm the government.
               9           In any event, a violation of constitutional rights per se weighs in favor of granting a
           10      preliminary injunction. “[B]y establishing a likelihood that Defendants’ policy violates the U.S.
           11      Constitution, Plaintiffs have also established that both the public interest and the balance of the
           12      equities favor a preliminary injunction.” Ariz. Dream Act Coal., 757 F.3d at 1069; see also
           13      Melendres, 695 F.3d at 1002 (“[I]t is always in the public interest to prevent the violation of a party’s
           14      constitutional rights.” (internal quotation marks omitted)). Here, this Court has already held that Mr.
           15      Ramirez was owed due process. Dkt. 116, at 18 (Order Denying Mot. to Dismiss) (noting it “cannot”
           16      be that “no process is due” to DACA recipients, “particularly . . . where benefits have already been
           17      conferred”). And as explained above, the arbitrary revocation of his DACA status violated these due
           18      process rights—and his rights under the APA. Accordingly, both the balance of the equities and the
           19      public interest favor provisional relief.
           20                                                  V. CONCLUSION
           21              For the reasons set forth above, Mr. Ramirez respectfully requests that the Court award
           22      provisional relief directing the government to restore his DACA status and work authorization
           23      pending a decision on the merits of his claims.
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                   DATED:      February 6, 2018
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               1                                     CERTIFICATE OF SERVICE

               2          I hereby certify that on February 6, 2018, I electronically filed the foregoing document with the
               3   Clerk of the Court using CM/ECF. I also certify that the foregoing document should automatically be
               4   served this day on all counsel of record via transmission of Notices of Electronic Filing generated by
               5   CM/ECF.
               6
                                                                                /s/ Theodore J. Boutrous, Jr.
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